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                                  I N T H E U NI T E D S T A T E S DI S T RI C T C O U R T
                                   F O R T H E S O U T H E R N DI S T RI C T O F O HI O
                                                 E A S T E R N DI VI SI O N

 I N R E FI R S T E N E R G Y C OR P. S E C U RI TI E S                     C as e N o. 2: 2 0 -c v -0 3 7 8 5 -A L M -K AJ
 LI TI G A TI O N,
                                                                            C hi ef J u d g e Al g e n o n L. M ar bl e y
 T his d o c u m e nt r el at es t o:
                                                                            M a gistr at e J u d g e Ki m b erl y A. J ols o n
          A L L A C TI O N S.


                                        J OI N T DI S C O V E R Y S T A T U S R E P O R T

                                                           [ R E D A C T E D]

           P urs u a nt t o t h e C o urt’s A u g ust 1 9, 2 0 2 2 O pi ni o n a n d Or d er ( E C F 3 3 3), t h e p arti es s u b mit

 t his j oi nt dis c o v er y st at us r e p ort. T h er e is o n e a cti v e pri vil e g e dis p ut e b et w e e n Cl ass Pl ai ntiffs

 a n d First E n er g y. T h er e is als o o n e a cti v e dis p ut e b et w e e n Cl ass Pl ai ntiffs, O pt -O ut Pl ai ntiffs, a n d

 Mi c h a el D o wli n g r e g ar di n g t h e R ul e 3 0( b)( 6) d e p ositi o n of P art n ers f or Pr o gr ess, I n c.            T he

 rel e v a nt p arti es’ p ositi o ns ar e s et f ort h b el o w. T h e p arti es c o nti n u e t o m e et -a n d -c o nf er i n g o o d

 f ait h r e g ar di n g a n u m b er of ot h er dis c o v er y iss u es.

 I.        P ri vil e g e Dis p ut e R e g a r di n g D o c u m e nts Cl a w e d B a c k b y Fi rst E n e r g y

           A.         Pl ai ntiffs’ P ositi o n r e Fi rst E n e r g y C o r p. ’s A u g ust 1 5, 2 0 2 3 Cl a w b a c k

           O n T h urs d a y, O ct o b er 2 9, 2 0 2 0, d ef e n d a nt First E n er g y C or p. ( “ First E n er g y ”) fir e d

 d ef e n d a nt C h arl es E. J o n es ( “J o n es ”).     T h e n e xt d a y, Fri d a y, O ct o b er 3 0, 2 0 2 0, First E n er g y

 s cr a m bl e d t o s cr u b J o n es fr o m t h e s cri pt f or its M o n d a y , N o v e m b er 2, 2 0 2 0 e ar ni n gs c all. T his

 w as a s e e mi n gl y all -h a n ds eff ort, i n v ol vi n g d o z e ns of First E n er g y e m pl o y e es ( m ost of w h o m w er e

 n ot l a w y ers) a n d a n o utsi d e p u bli c r el ati o ns fir m, b ut n o o utsi d e c o u ns el.             S e e, e. g. , E x. 1

 (F E _ CI V _ S E C _ 0 7 6 3 9 9 1) att a c h e d h er et o.       Fift e e n   m o nt hs l at er, o n F e br u ar y 1 7, 2 0 2 2,

 First E n er g y pr o d u c e d s e v er al e m ails a n d att a c h m e nts fr o m t his O ct o b er 3 0, 2 0 2 0 s cr a m bl e.
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            O v er 1 8 m o nt hs aft er t his F e br u ar y 1 7, 2 0 2 2 pr o d u cti o n, First E n er g y’s n e w c o u ns el

 ass ert e d t h at 2 of t h es e e m ail s w er e “i n a d v ert e ntl y pr o d u c e d ” ( F E _ CI V _ S E C _ 0 3 7 7 6 3 4 a n d

 F E _ CI V _ S E C _ 0 3 7 7 6 4 3, r es p e cti v el y att a c h e d h er et o as E xs. 2 -3), e v e n t h o u g h First E n er g y’s

 pr es e nt c o u ns el w er e n ot t h e c o u ns el w h o pr o d u c e d t h e m a n d t h e c o u ns el w h o pr o d u c e d t h e m h as

 y et t o ass ert t h at t h eir pr o d u cti o n w as i n a d v ert e nt. Br a c y v. C o ns u m ers E n er g y C o. , 2 0 2 1 W L

 5 1 9 4 1 0 6, at * 6 ( E. D.         Mi c h. A u g. 4, 2 0 2 1) ( “‘ W h e n a pr o d u ci n g p art y cl ai ms i n a d v ert e nt

 dis cl os ur e, it h as t h e b ur d e n of pr o vi n g t h at t h e dis cl os ur e w as tr ul y i n a d v ert e nt.’ ”) ( cit ati o n

 o mitt e d). First E n er g y’s b el at e d pri vil e g e ass erti o n als o f ails t o: ( 1) i d e ntif y a n att or n e y w h os e

 l e g al a d vi c e t h es e t w o e m ails r efl e ct; a n d ( 2) pr o vi d e a d e cl ar ati o n fr o m a n y wit n ess att esti n g t h e

 pri m ar y p ur p os e of t h es e e m ails w as t o c o n v e y l e g al a d v i c e. S e e O pi ni o n & Or d er, E C F 4 5 6 at

 P a g eI D 1 0 2 6 3; Br a c y , 2 0 2 1 W L 5 1 9 4 1 0 6 at * 6 ( wit h n o affi d a vit “t o e x pl ai n t h at t h e s p e cifi c

 d o c u m e nt i n q u esti o n h er e w as cr e at e d f or t h e p ur p os e of o bt ai ni n g l e g al a d vi c e ” a n d n o “ e vi d e n c e

 t h at d o c u m e nts s u c h as t h e do c u m e nt i n q u esti o n h er e ar e al w a ys pr e p ar e d f or t h e p ur p os e of

 o bt ai ni n g l e g al a d vi c e, ” “it c a n n ot b e est a blis h e d t h at t h e d o c u m e nt i n q u esti o n w as cr e at e d f or t h e

 p ur p os e of s e e ki n g l e g al a d vi c e ”) ( e m p h asis i n ori gi n al).             If i n -h o us e c o u ns el ar e si m pl y

 w or ds mit hi n g s cri pts or gi vi n g t a cti c al s u g g esti o ns/ e dits, t h at d o es n ot c o nstit ut e l e g al a d vi c e.

            P urs u a nt t o R ul e 2 6( b)( 5)( B) of t h e F e d er al R ul es of Ci vil Pr o c e d ur e, Pl ai ntiffs ar e

 pr o vi di n g i n c a m er a t h e t w o e m ails t h at First E n er g y is att e m pti n g t o cl a w b a c k f or a d et er mi n ati o n

 of First E n er g y’s b el at e d a n d u ns u p p ort e d pri vil e g e cl ai m. 1 S e e E xs. 2 -3. “ W h er e, as h er e, i n -


 1
       Pl ai ntiffs r ef ers t o Cl ass R e pr es e nt ati v es L os A n g el es C o u nt y E m pl o y e es R etir e m e nt
 Ass o ci ati o n, A m al g a m at e d B a n k, as Tr ust e e f or t h e L o n g Vi e w L ar g e C a p 5 0 0 I n d e x F u n d,
 L o n g Vi e w Q u a ntit ati v e L ar g e C a p F u n d, L o n g Vi e w Br o a d M ar k et 3 0 0 0 I n d e x F u n d, L o n g Vi e w
 L ar g e C a p 5 0 0 I n d e x F u n d V E B A, L V L ar g e C a p 1 0 0 0 V al u e I n d e x F u n d, L o n g Vi e w Q u a ntit ati v e
 Mi d C a p F u n d, L o n g Vi e w Q u a nt L ar g e C a p E q uit y V E B A F u n d a n d L o n g Vi e w C or e Pl us Fi x e d
 I n c o m e F u n d, Cit y of Ir vi n g S u p pl e m e nt al B e n efit Pl a n, a n d Wis c o nsi n L a b or ers’ P e nsi o n F u n d
 ( c oll e cti v el y, t h e “ Pl ai ntiffs ”).


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 h o us e c o u ns el a p p e ars as o n e of m a n y r e ci pi e nts of a n ot h er wis e b usi n ess -r el at e d m e m o, t h e

 f e d er al c o urts pl a c e a h e a v y b ur d e n o n t h e pro p o n e nt t o m a k e a cl e ar s h o wi n g t h at c o u ns el is a cti n g

 i n a pr of essi o n al l e g al c a p a cit y a n d t h at t h e d o c u m e nt r efl e cts l e g al, as o p p os e d t o b usi n ess,

 a d vi c e. ” A m w a y C or p. v. Pr o ct er & G a m bl e C o ., 2 0 0 1 W L 1 8 1 8 6 9 8, at * 5 ( W. D. Mi c h. A pr. 3,

 2 0 0 1). “ I n c a m er a i ns p e cti o n of e a c h s h o ws t h at t h e c o nt e xt of t h e C at e g or y II d o c u m e nts w as

 p u bli c r el ati o ns a n d ot h er b usi n ess str at e gi zi n g a n d w as n ot l e g al i n n at ur e, e v e n w h e n l a ws uits or

 t h e pr os p e ct of l a ws uits w er e u n d er dis c ussi o n. ” I d. at * 8.

            B.         D ef e n d a nt Fi rst E n e r g y’s P ositi o n

            O n A u g ust 1 5, 2 0 2 3, First E n er g y cl a w e d b a c k t w o d o c u m e nts t h at it h a d i n a d v ert e ntl y

 pr o d u c e d i n t his a cti o n t h at r efl e ct l e g al a d vi c e pr o vi d e d b y i n -h o us e c o u ns el o n s cri pts pr e p ar e d

 f or a q u art erl y e ar ni n gs c all. Pl ai ntiffs n o w c h all e n g e t h e cl a w b a c k b as e d o n t h e c o n cl us or y cl ai m

 t h at t h e a d vi c e r efl e ct e d i n t h e d o c u m e nts s er v e d n o l e g al p ur p os e a n d i nst e a d c o n c er n e d o nl y

 “t a cti c al ” or “str at e gi c ” p ur p os es. T h e C o urt s h o ul d r ej e ct Pl ai ntiffs’ ar g u m e nt b e c a us e it c a n n ot

 b e s q u ar e d wit h est a blis h e d l a w pr o vi di n g t h at c o u ns el’s a d vi c e o n a n iss u er’s p u bli c dis cl os ur es

 is pri vil e g e d u n d er t h e g o v er ni n g pr e d o mi n a nt p ur p os e st a n d ar d.

            B ac k gr o u n d

            O n A u g ust 1 5, 2 0 2 3, p urs u a nt t o t h e c o urt -or d er e d J oi nt Pr ot o c ol f or Pr o d u cti o n of

 D o c u m e nts a n d El e ct r o ni c all y St or e d I nf or m ati o n i n t his a cti o n ( E C F N o. 2 0 4), First E n er g y s e nt

 a l ett er t o all p arti es cl a wi n g b a c k t w o d o c u m e nts c o nt ai ni n g pri vil e g e d i nf or m ati o n t h at

 First E n er g y h a d i n a d v ert e ntl y pr o d u c e d wit h o ut r e d a cti o ns (t h e “ Cl a w b a c k D o c u m e nts ”).          As

 d es cri b e d   on     First E n er g y’s      pri vil e g e l o g,      b ot h   d o c u m e nts     ar e   “[ c] o nfi d e nti al    e m ail

 c o m m u ni c ati o n[s] r efl e cti n g l e g al a d vi c e of c o u ns el r e g ar di n g [ a] q u art erl y e ar ni n gs c all. ” 2 T h e


 2
            First E n er g y’s pri vil e g e l o g r efl e cti n g t h e r el e v a nt e ntri es is att a c h e d as E x hi bit F E 1.


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            E v e n if Pl ai ntiffs p oi nt e d t o s o m e s e c o n d ar y b usi n ess p ur p os e r efl e ct e d i n t h e Cl a w b a c k

 D o c u m e nts (t h e y h a v e n ot), t h at w o ul d n ot r e n d er t h e c o m m u ni c ati o ns n o n -pri vil e g e d. L e g al a n d

 b usi n ess iss u es ar e oft e n “i n e xtri c a bl y i nt ert wi n e d, ” a n d “[ w] h e n a n att or n e y a cts i n b ot h a l e g al

 a n d a b usi n ess c a p a cit y, ” a c o m m u ni c ati o n r e m ai ns pri vil e g e d “if t h e l e g al as p e ct pr e d o mi n at es. ”

 C ar h artt, I n c. v. I n n o v ati v e T e xtil es, I n c., 3 3 3 F. R. D. 1 1 3, 1 1 7 ( E. D.               Mi c h. 2 0 1 9); s e e als o

 A bi n gt o n E m ers o n C a p. , 20 1 9 W L 6 1 6 7 0 8 5, at * 3 (s a m e). H er e, w h er e t h e Cl a w b a c k D o c u m e nts

 r efl e ct att or n e ys’ p erf or m a n c e of a cl assi c dis cl os ur e c o u ns el f u n cti o n, t h at t est is a m pl y s atisfi e d.

 A c c or di n gl y, t h e C o urt s h o ul d r ej e ct Pl ai ntiffs’ mi s g ui d e d c h all e n g e a n d or d er t h e m t o d estr o y t h e

 Cl a w b a c k D o c u m e nts.

 II.        P F P’s R es e r v ati o n of Ri g hts t o I n v o k e t h e Fift h A m e n d m e nt at Its R ul e
            3 0( b)( 6) D e p ositi o n

            A.         Pl ai ntiffs, O pt -O ut Pl ai ntiffs, a n d D o wli n g’s P ositi o n

            Pl ai ntiffs, O pt -O ut Pl ai ntiffs, a n d D o wli n g h a v e r e a c h e d a n i m p ass e wit h n o n -p art y

 P art n ers f or      Pr o gr ess, I n c. ( “ P F P ”)        o v er     w h et h er    Mi c h a el   V a n B ur e n’s ( “ V a n B ur e n ”)

 a c k n o wl e d g e m e nt t h at h e will i n v o k e his Fift h A m e n d m e nt ri g ht a g ai nst s elf -i n cri mi n ati o n at his

 i n di vi d u al d e p ositi o n c a n s er v e as a b asis f or P F P t o si mil arl y bl o c k s o m e or all d e p ositi o n

 t esti m o n y b y V a n B ur e n, its c or p or at e d esi g n e e f or t h e d e p ositi o n p urs u a nt t o F e d er al R ul e of Ci vil

 Pr o c e d ur e 3 0( b)( 6) ( a “ 3 0( b)( 6) d e p ositi o n ”). 4 V a n B ur e n is a n i m pr o p er c or p or at e d esi g n e e f or

 t his 3 0( b)( 6) d e p ositi o n b e c a us e his Fift h A m e n d m e nt ri g hts d o n ot a p pl y t o P F P. C o ntr olli n g l a w

 h ol ds t h at P F P h as n o Fift h A m e n d m e nt ri g ht a n d P F P c a n n ot bl o c k 3 0( b)( 6) d e p ositi o n t esti m o n y

 o n t h at b asis. Br as w ell v. U nit e d St at es , 4 8 7 U. S. 9 9, 1 1 0 ( 1 9 8 8) ( “ A n y cl ai m of Fift h A m e n d m e nt


 4
      O pt -O ut Pl ai ntiffs i n M F S S eri es Tr ust I, et al. v. First E n er g y C or p., et al. , N o. 2: 2 1-c v -0 5 8 3 9 -
 A L M -K AJ ( S. D. O hi o), a n d Bri g ht h o us e F u n ds Tr ust II – M F S V al u e P ortf oli o , et al. v.
 First E n er g y C or p., et al. , N o. 2: 2 2-c v -0 0 8 6 5 -A L M -K AJ ( S. D. O hi o), j oi n i n Pl ai ntiffs’ ar g u m e nts.
 D o wli n g r ef ers t o d ef e n d a nt Mi c h a el J. D o wli n g.


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 pri vil e g e ass ert e d b y t h e a g e nt w o ul d b e t a nt a m o u nt t o a cl ai m of pri vil e g e b y t h e c or p or ati o n -

 w hi c h of c o urs e p oss ess es n o s u c h pri vil e g e. ”).

            P F P’s 3 0( b)( 6) d e p ositi o n is s et f or S e pt e m b er 1 1 -1 2, 2 0 2 3 a n d V a n B ur e n’s is s et f or

 S e pt e m b er 1 2 -1 3, 2 0 2 3. 5 T h os e d at es w er e a gr e e d t o b y all p arti es a n d t h e d e p o n e nts o n J ul y 1 2,

 2 0 2 3. O n a J ul y 1 8, 2 0 2 3 m e et -a n d -c o nf er c all, c o u ns el f or P F P st at e d t h at V a n B ur e n w o ul d s er v e

 as t h e e ntit y’s r e pr es e nt ati v e p urs u a nt t o F e d er al R ul e of Ci vil Pr o c e d ur e 3 0( b)( 6). O n A u g ust 1 6,

 2 0 2 3, h o w e v er, V a n B ur e n’s c o u ns el st at e d b y e m ail t h at V a n B ur e n will n ot t estif y s u bst a nti v el y

 r e g ar di n g his a cti viti es a n d/ or c o n d u ct r el ati n g t o P F P b e c a us e h e will i n v o k e his Fift h A m e n d m e nt

 ri g hts at his i n di vi d u al d e p ositi o n.     U p o n l e ar ni n g t hat V a n B ur e n w o ul d n ot pr o vi d e s u bst a nti v e

 t esti m o n y, o n A u g ust 1 8, 2 0 2 3, Pl ai ntiffs r e q u est e d P F P pr o vi d e a n alt er n ati v e 3 0( b)( 6) wit n ess

 w h o w o ul d n ot i n v o k e t h e Fift h A m e n d m e nt. 6 R at h er t h a n a gr e e t o t his, c o u ns el f or P F P t a k es t h e

 p ositi o n t h at its c or p or at e r e pr es e nt ati v e r es er v es t h e ri g ht t o ass ert t h e Fift h A m e n d m e nt at t h e

 3 0( b)( 6) d e p ositi o n.

            B e c a us e P F P h as n o Fift h A m e n d m e nt ri g hts, Pl ai ntiffs a n d t h e Cl ass ar e e ntitl e d t o t w o

 t y p es of a ns w ers t o q u esti o ns p os e d at t h e 3 0( b)( 6) d e p ositi o n: ( 1) su bst a nti v e r es p o ns es b as e d o n

 t h e c or p or at e d esi g n e e’s p ers o n al k n o wl e d g e ( or o n t h eir e d u c ati n g t h e ms el v es a b o ut w h at

 o c c urr e d fr o m d o c u m e nts a n d/ or wit n ess i nt er vi e ws); or ( 2) t esti m o n y t h at t h e d esi g n e e d o es n ot

 k n o w t h e a ns w er b e c a us e eit h er t h e y l o o k e d f or t h e i nf or m ati o n a n d it w as u n a v ail a bl e or t h e y



 5
      V a n B ur e n s er v es as P F P’s dir e ct or a n d tr e as ur er, a n d h as si n c e P F P’s f o u n di n g i n 2 0 1 7. H e
 is r epr es e nt e d b y s e p ar at e c o u ns el fr o m P F P f or t h e p ur p os e of t h e t w o s c h e d ul e d d e p ositi o ns.
 6
       It is cl e ar t h at V a n B ur e n will pr o vi d e n o s u bst a nti v e a ns w ers t o q u esti o ns at d e p ositi o n. O n
 t h e b asis of t h e Fift h A m e n d m e nt pri vil e g e, his c o u ns el h as r ef us e d t o ev e n s a y w h et h er V a n B ur e n
 h as pr e vi o usl y gi v e n t esti m o n y t o t h e S E C. It is i n c o n c ei v a bl e t h at V a n B ur e n w o ul d r ef us e t o
 t estif y i n his i n di vi d u al c a p a cit y, o nl y t o t h e n t estif y t o t h e v er y s a m e m att ers i n his r e pr es e nt ati v e
 c a p a cit y.


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  f ail e d t o i n v esti g at e a f a ct u al iss u e. P F P is r ef usi n g t o pr o vi d e a wit n ess w h o will f ulfill P F P’s

  o bli g ati o n t o gi v e t h e r e q uir e d t esti m o n y; i nst e a d, it w a nts t o r es er v e t h e ri g ht t o ass ert t h e Fift h

  A m e n d m e nt t o pr e cl u d e s u c h t esti m o n y.

             A d diti o n all y, P F P c o nt e n ds t h at if it d esi g n at e d a n ot h er of its t hr e e c urr e nt or f or m er

  dir e ct ors a n d offi c ers as a c or p or at e r e pr es e nt ati v e, a n y o n e of t h e m w o ul d si mil arl y ass ert Fift h

  A m e n d m e nt ri g hts a g ai nst t estif y i n g. B ut t h at si m pl y m e a ns P F P m ust d esi g n at e s o m e o n e els e t o

  s er v e as its r e pr es e nt ati v e wit n ess w h o will n ot ass ert t h e Fift h A m e n d m e nt pri vil e g e. U nit e d

  St at es v. B art h , 7 4 5 F. 2 d 1 8 4, 1 8 9 ( 2 d Cir. 1 9 8 4) ( “If all c urr e nt e m pl o y e es s u c c essf ull y ass ert a

  fift h a m e n d m e nt pri vil e g e, t h e c or p or ati o ns m ust a p p oi nt a n a g e nt w h o will t estif y wit h o ut

  ass erti n g t h e pri vil e g e. ”); a c c or d I n r e Cl assi cst ar M ar e L e as e Liti g. , 2 0 0 9 W L 1 3 1 3 3 1 1, at * 2

  ( E. D. K y. M a y 1 2, 2 0 0 9); Cit y of C hi c a g o, Ill. v. W olf , 1 9 9 3 W L 1 7 7 0 20 at * 1 ( D. Ill. M a y 2 1,

  1 9 9 3) ( “ c or p or ati o ns . . . c a n b e c o m p ell e d t o a ns w er t h e q u esti o ns t hr o u g h a n a g e nt w h o will n ot

  i n v o k e t h e pri vil e g e . . . i n cl u d[i n g], if n e c ess ar y, r et ai ni n g a p ers o n n ot pr e vi o usl y ass o ci at e d wit h

  t h e c or p or ati o n s o t h at t h at p ers o n c a n a ns w er t h e q u esti o ns ”).

             A c c or di n gl y, t o a v oi d t h e n e e dl ess w ast e of t h e p arti es’ ti m e a n d r es o ur c es att e n di n g a

  3 0( b)( 6) d e p ositi o n w h er e t h e r e q uir e d t esti m o n y is bl o c k e d b y i m pr o p er o bj e cti o n, Pl ai ntiffs, O pt -

  O ut Pl ai ntiffs, a n d D o wli n g r es p e c tf ull y r e q u est t h at P F P b e or d er e d t o pr o d u c e a wit n ess f or t h e

  3 0( b)( 6) d e p ositi o n w h o will n ot r ef us e t o a ns w er q u esti o ns b as e d o n a m eritl ess ass erti o n of a

  n o n e xist e nt Fift h A m e n d m e nt pri vil e g e.

             B.         P F P’s P ositi o n

             B e c a us e Pl ai ntiffs’ c o u ns el pr o p os e d a si m ult a n e o us e x c h a n g e of p ositi o ns t o d a y, P F P h as

  n ot s e e n Pl ai ntiffs’ p ositi o n i n f ull a n d s o d o es n ot k n o w e x a ctl y w h at t o a d dr ess.

             B ut P F P c o nti n u es t o st a n d o n t h e p ositi o n it arti c ul at e d i n its p orti o n of t h e A u g ust 7, 2 0 2 3

  J oi nt Dis c o v er y St at us R e p ort , a n d it will f urt h er r e ass ert h er e w h at it s h ar e d wit h c o u ns el f or


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  Pl ai ntiffs a n d D o wli n g as a n u p d at e o n A u g ust 1 7, 2 0 2 3, w hi c h is t h at if it is tr u e t h at Pl ai ntiffs

  ar e d e m a n di n g t h at P F P’s 3 0( b)( 6) d esi g n e e w ai v e a n y 5t h A m e n d m e nt ri g hts i n a d v a n c e wit h o ut

  first k n o wi n g w h at q u esti o ns will b e as k e d, t h e n s u c h a d e m a n d fr o m Pl ai ntiffs is i n a p pr o pri at e,

  a n d P F P’s d esi g n e e will t h us b e s o m e o n e w h o is r es er vi n g t h e ri g ht t o ass ert a p pr o pri at e p ers o n al

  o bj e cti o ns, d e p e n di n g o n t h e q u esti o ns a ct u all y as k e d, i n cl u di n g wit h r e g ar d t o 5t h A m e n d m e nt

  ri g hts. If Pl ai ntiffs or ot h ers ar e s e e ki n g a n or d er t o t h at e xt e nt fr o m t h e C o urt, t h e n P F P as ks f or

  a n o p p ort u nit y t o s e e t h e ar g u m e nts fr o m t h e m i n f ull a n d t o b e a bl e t o fil e a writt e n r es p o ns e

  wit hi n a r e as o n a bl e p eri o d of ti m e t h er e aft er.



  D at e d: A u g ust 2 8, 2 0 2 3

  R es p e ctf ull y s u b mitt e d,                                     R es p e ctf ull y s u b mitt e d,

  /s/ J os e p h F. M urr a y ( wit h p er missi o n)                   /s/ T h o m as D. W arr e n
  J os e p h F. M urr a y, Tri al Att or n e y ( 0 0 6 3 3 7 3)         T h o m as D. W arr e n, Tri al Att or n e y ( 0 0 7 7 5 4 1)
  M U R R A Y M U R P H Y M O U L + B A SI L L L P                      W A R R E N T E R ZI A N L L P
  1 1 1 4 D u bli n R o a d                                             3 0 7 9 9 Pi n etr e e R d., S uit e 3 4 5
  C ol u m b us, O H 4 3 2 1 5                                          P e p p er Pi k e, O H 4 4 1 2 4
  T el e p h o n e: ( 6 1 4) 4 8 8 -0 4 0 0                             T el e p h o n e: ( 2 1 6) 3 0 4 -4 9 7 0
  F a csi mil e: ( 6 1 4) 4 8 8 -0 4 0 1                                E m ail: t o m. w arr e n @ w arr e nt er zi a n. c o m
  E m ail: m urr a y @ m m m b. c o m
                                                                        R o b ert J. Gi uffr a, Jr. ( a d mitt e d pr o h a c vi c e )
  Li ais o n C o u ns el                                                S h ar o n L. N ell es ( a d mitt e d pr o h a c vi c e )
                                                                        D a vi d M.J. R ei n ( a d mitt e d pr o h a c vi c e )
  D arr e n J. R o b bi ns ( a d mitt e d pr o h a c vi c e )           Hil ar y M. Willi a ms ( a d mitt e d pr o h a c vi c e )
  M ar k S ol o m o n ( a d mitt e d pr o h a c vi c e )                T as h a N. T h o m ps o n ( a d mitt e d pr o h a c vi c e )
  J as o n A. F or g e ( a d mitt e d pr o h a c vi c e )               S U L LI V A N & C R O M W E L L L L P
  R O B BI N S G E L L E R R U D M A N                                  1 2 5 Br o a d Str e et
  & D O W D LLP                                                         N e w Y or k, N Y 1 0 0 0 4
  6 5 5 W est Br o a d w a y, S uit e 1 9 0 0                           T el e p h o n e: ( 2 1 2) 5 5 8-4 0 0 0
  S a n Di e g o, C A 9 2 1 0 1                                         F a csi mil e: ( 2 1 2) 5 5 8 -3 5 8 8
  T el e p h o n e: ( 6 1 9) 2 3 1 -1 0 5 8                             E m ail: gi uffr ar @s ull cr o m. c o m
  F a csi mil e: ( 6 1 9) 2 3 1 -7 4 2 3                                E m ail: n ell ess @s ull cr o m. c o m
  E m ail: d arr e nr @r gr dl a w. c o m                               E m ail: r ei n d @s ull cr o m. c o m
  E m ail: m ar ks @r gr dl a w. c o m                                  E m ail: willi a ms h @s ull cr o m. c o m
  E m ail: jf or g e @r gr dl a w. c o m                                E m ail: t h o m ps o nt as @s ull cr o m. c o m




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  Att or n e ys f or L e a d Pl ai ntiff L os A n g el es            K a mil R. S hi el ds ( a d mitt e d pr o h a c vi c e )
  C o u nt y E m pl o y e es R etir e m e nt Ass o ci ati o n        S U L LI V A N & C R O M W E L L L L P
  a n d Pl ai ntiffs A m al g a m at e d B a n k, Cit y of           1 7 0 0 N e w Y or k A v e., N. W.
  Ir vi n g S u p pl e m e nt al B e n efit Pl a n, a n d            S uit e 7 0 0 0
  Wis c o nsi n L a b or ers’ P e nsi o n F u n d                    W as hi n gt o n, D C 2 0 0 0 6
                                                                     T el e p h o n e: ( 2 0 2) 9 5 6 -7 0 4 0
  /s/ C ar ol e S. R e n d o n ( wit h p er missi o n)               F a csi mil e: ( 2 0 2) 2 9 3 -6 3 3 0
  C ar ol e S. R e n d o n, Tri al Att or n e y ( 0 0 7 0 3 4 5)     E m ail: s hi el ds k a @s ull cr o m. c o m
  D o u gl as L. S hi v el y ( 0 0 9 4 0 6 5)
  D a ni el R. W arr e n ( 0 0 5 4 5 9 5)                            Att or n e ys f or D ef e n d a nt First E n er g y C or p.
  J er e m y St e v e n D u n n a b a c k ( 0 0 9 8 1 2 9)
  B A KE R & H OSTETLE R LLP                                         /s/ G e offr e y J. Ritts ( wit h p er missi o n)
  K e y T o w er, 1 2 7 P u bli c S q u ar e, S uit e 2 0 0 0        G e offr e y J. Ritts ( 0 0 6 2 6 0 3)
  Cl e v el a n d, O H 4 4 1 1 4                                     R o b ert S. F a x o n ( 0 0 5 9 6 7 8)
  T el e p h o n e: ( 2 1 6) 6 2 1 -0 2 0 0                          C or e y A. L e e ( 0 0 9 9 8 6 6)
  F a csi mil e: ( 2 1 6) 6 9 6 -0 7 4 0                             St e p h e n G. S o zi o ( 0 0 3 2 4 0 5)
  E m ail: cr e n d o n @ b a k erl a w. c o m                       A dri e n n e F. M u ell er ( 0 0 7 6 3 3 2)
  E m ail: ds hi v el y @ b a k erl a w. c o m                       J O NES D A Y
  E m ail: d w arr e n @ b a k erl a w. c o m                        N ort h P oi nt
  E m ail: j d u n n a b a c k @ b a k erl a w. c o m                9 0 1 L a k esi d e A v e n u e
                                                                     Cl e v el a n d, O H 4 4 1 1 4 -1 1 9 0
  G e or g e A. St a m b o uli dis ( a d mitt e d pr o h a c         T el e p h o n e: ( 2 1 6) 5 8 6 -3 9 3 9
  vi c e )                                                           F a csi mil e: ( 2 1 6) 5 7 9 -0 2 1 2
  B A KE R & H OSTETLE R LLP                                         E m ail: gjritts @j o n es d a y. c o m
  4 5 R o c k ef ell er Pl a z a                                     E m ail: rf a x o n @j o n es d a y. c o m
  N e w Y or k, N Y 1 0 1 1 1                                        E m ail: c al e e @j o n es d a y. c o m
  T el e p h o n e: ( 2 1 2) 5 8 9 -4 2 1 1                          E m ail: s gs o zi o @j o n es d a y. c o m
  F a csi mil e: ( 2 1 2) 5 8 9 -4 2 0 1                             E m ail: af m u ell er @j o n es d a y. c o m
  E m ail: gst a m b o uli dis @ b a k erl a w. c or n
                                                                     M arj ori e P. D uff y ( 0 0 8 3 4 5 2)
  Att or n e ys f or D ef e n d a nt C h arl es E. J o n es          J or d a n M. B a u m a n n ( 0 0 9 3 8 4 4)
                                                                     M. R y a n H ar m a nis ( 0 0 9 3 6 4 2)
  /s/ D o u gl as M. M a nsfi el d ( wit h p er missi o n)           J O NES D A Y
  D o u gl as M. M a nsfi el d ( 0 0 6 3 4 4 3)                      3 2 5 J o h n H. M c C o n n ell B o ul e v ar d, S uit e 6 0 0
  L A P E M A N S FI E L D N A K A SI A N &                          C ol u m b us, O H 4 3 2 1 5
  GI B S O N, L L C                                                  T el e p h o n e: ( 6 1 4) 4 6 9 -3 9 3 9
  9 9 8 0 Br e wst er L a n e, S uit e 1 5 0                         F a csi mil e: ( 6 1 4) 4 6 1 -4 1 9 8
  P o w ell, O H 4 3 0 6 5                                           E m ail: m p d uff y @j o n es d a y. c o m
  T el e p h o n e: ( 6 1 4) 7 6 3 -2 3 1 6                          E m ail: j b a u m a n n @j o n es d a y. c o m
  F a csi mil e: ( 6 1 4) 4 6 7 -3 7 0 4                             E m ail: r h ar m a nis @j o n es d a y. c o m
  E m ail: d m a nsfi el d @l m n g -l a w. c o m

  Mi c h a el L. Ki c hli n e ( a d mitt e d pr o h a c vi c e )     S c ott B. S c h ei n b er g ( a d mitt e d pr o h a c vi c e )
  L a ur a H. M c N all y ( a d mitt e d pr o h a c vi c e )         J O NES D A Y
  E mil y S. Ki m m el m a n ( a d mitt e d pr o h a c vi c e )      5 0 0 Gr a nt Str e et, S uit e 4 5 0 0
                                                                     Pitts b ur g h, P A 1 5 2 1 9 -2 5 1 4



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  K ar e n Pi esl a k P o hl m a n n ( a d mitt e d pr o h a c         T e l e p h o n e: ( 4 1 2) 3 9 1-3 9 3 9
  vi c e )                                                             F a csi mil e: ( 4 1 2) 3 9 4 -7 9 5 9
  M O R G A N, L E WI S & B O C KI U S L L P                           E m ail: ss c h ei n b er g @j o n es d a y. c o m
  1 7 0 1 M ar k et Str e et
  P hil a d el p hi a, P A 1 9 1 0 3 -2 9 2 1                          Att or n e ys f or D ef e n d a nts St e v e n E. Str a h, K.
  T el e p h o n e: ( 2 1 5) 9 6 3 -5 0 0 0                            J o n T a yl or, J as o n J. Lis o ws ki, G e or g e M.
  F a csi mil e: ( 2 1 5) 9 6 3 -5 0 0 1                               S m art, P a ul T. A d dis o n, Mi c h a el J. A n d ers o n,
  E m ail: mi c h a el. ki c hli n e @ m or g a nl e wis. c o m        St e v e n J. D e m etri o u, J uli a L. J o h ns o n, D o n al d
  E m ail: l a ur a. m c n all y @ m or g a nl e wis. c o m            T. Mis h eff, T h o m as N. Mit c h ell, J a m es F.
  E m ail: e mil y. ki m m el m a n @ m or g a nl e wis. c o m         O’ N eil III, C hrist o p h er D. P a p p as, S a n dr a
  E m ail: k ar e n. p o hl m a n n @ m or g a nl e wis. c o m         Pi a n alt o, L uis A. R e y es, J err y S u e T h or nt o n,
                                                                       a n d L esli e M. T ur n er
  Att or n e ys f or D ef e n d a nt D e n nis M. C h a c k
                                                                       /s/ J o h n F. M c C affr e y ( wit h p er missi o n)
  /s/ Bri a n P. O’ C o n n or ( wit h p er missi o n)                 J o h n F. M c C affr e y ( 0 0 3 9 4 8 6)
  Bri a n P. O’ C o n n or ( 0 0 8 6 6 4 6)                            J o h n A. F a vr et ( 0 0 8 0 4 2 7)
  S A NTE N & H U G HES                                                H a n n a h M. S mit h ( 0 0 9 0 8 7 0)
  6 0 0 Vi n e Str e et, S uit e 2 7 0 0                               T U C K E R E L LI S L L P
  Ci n ci n n ati, O H 4 5 2 0 2                                       9 5 0 M ai n A v e n u e - S uit e 1 1 0 0
  T el e p h o n e: ( 5 1 3) 7 2 1 -4 4 5 0                            Cl e v el a n d, O H 4 4 1 1 3
  F a csi mil e: ( 5 1 3) 8 5 2 -5 9 9 4                               T el e p h o n e: ( 2 1 6) 5 9 2 -5 0 0 0
  E m ail: b p o @s a nt e n h u g h es. c o m                         F a csi mil e: ( 2 1 6) 5 9 2 -5 0 0 9
                                                                       E m ail: j o h n. m c c affr e y @t u c k er ellis. c o m
  Pr est o n B urt o n ( a d mitt e d pr o h a c vi c e )              E m ail: j o h n.f a vr et @t u c k er ellis. c o m
  A d a m Mill er ( a d mitt e d pr o h a c vi c e )                   E m ail: h a n n a h.s mit h @t u c k er ellis. c o m
  Br e e M ur p h y ( a d mitt e d pr o h a c vi c e )
  Jill Wi nt er ( a d mitt e d pr o h a c vi c e )                     St e v e Gr i m es ( a d mitt e d pr o h a c vi c e )
  O R RI C K, H E R RI N G T O N & S U T C LI F F E                    D a n K. W e b b ( a d mitt e d pr o h a c vi c e )
  2 0 0 1 M Str e et N W, S uit e 5 0 0                                WI N S T O N & S T R A W N, L L P
  W as hi n gt o n, D C 2 0 0 3 6                                      3 5 W. W a c k er Dri v e
  T el e p h o n e: ( 2 0 2) 3 4 9 -8 0 0 0                            C hi c a g o, I L 6 0 6 0 1
  F a csi mil e: ( 2 0 2) 3 4 9 -8 0 8 0                               T el e p h o n e: ( 3 1 2) 5 5 8 -5 6 0 0
  E m ail: p b urt o n @ o rri c k. c o m                              F a csi mil e: ( 3 1 2) 5 5 8 -5 7 0 0
  E m ail: a d a m. mill er @ orri c k. c o m                          E m ail: S Gri m es @ wi nst o n. c o m
  E m ail: b m ur p h y @ orri c k. c o m                              E m ail: D W e b b @ wi nst o n. c o m
  E m ail: j wi nt er @ orri c k. c o m
                                                                       Att or n e ys f or D ef e n d a nt Mi c h a el J. D o wli n g
  Att or n e ys f or D ef e n d a nt D o n al d R. S c h n ei d er




  /s/ J a m es E. Ar n ol d ( wit h p er missi o n)                    /s/ J er e m y R. T e a b err y ( wit h p er missi o n)
  J a m es E. Ar n ol d ( 0 0 3 7 7 1 2)                               J er e m y R. T e a b err y ( 0 0 8 2 8 7 0)
  G er h ar dt A. G os n ell II ( 0 0 6 4 9 1 9)                       Ti m ot h y D. K atsiff ( a d mitt e d pr o h a c vi c e )
  A R N O L D & C LI F F O R D L L P                                   D a vi d L. A x elr o d ( a d mitt e d pr o h a c vi c e )



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  1 1 5 W. M ai n St., F o urt h Fl o or                                E mili a M c K e e V ass all o ( a d mitt e d pr o h a c vi c e )
  C ol u m b us, O H 4 3 2 1 5                                          Britt a n y M. Wils o n ( a d mitt e d pr o h a c vi c e )
  T el e p h o n e: ( 6 1 4) 4 6 0 -1 6 0 0                             B A L L A R D SP A H R L LP
  F a csi mil e: ( 6 1 4) 4 6 9 -1 0 9 3                                1 7 3 5 M ar k et Str e et, 5 1st Fl o or
  E m ail: j ar n ol d @ ar nl a w. c o m                               P hil a d el p hi a, P A 1 9 1 0 3 -7 5 9 9
  E m ail: g g os n ell @ ar nl a w. c o m                              T el e p h o n e: ( 2 1 5) 6 6 5 -8 5 0 0
                                                                        F a csi mil e: ( 2 1 5) 8 6 4 -8 9 9 9
  V er o ni c a E. C all a h a n ( a d mitt e d pr o h a c vi c e )     E m ail: t e a b err yj @ b all ar ds p a hr. c o m
  A ar o n F. Mi n er ( a d mitt e d pr o h a c vi c e )                E m ail: k atsifft @ b all ar ds p a hr. c o m
  Yi qi n g S hi ( a d mitt e d pr o h a c vi c e )                     E m ail: a x elr o d d @ b all ar ds p a hr. c o m
  AR N OL D & P ORTER K A YE SC H OLER                                  E m ail: m c k e e v ass all o e @ b all ar ds p a hr. c o m
  LLP                                                                   E m ail: wils o n b m @ b all ar ds p a hr. c o m
  2 5 0 W est 5 5t h Str e et
  N e w Y or k, N Y 1 0 0 1 9 -9 7 1 0                                  Att or n e ys f or D ef e n d a nt J a m es F. P e ars o n
  T el e p h o n e: ( 2 1 2) 8 3 6 -8 0 0 0
  F a csi mil e: ( 2 1 2) 8 3 6 -8 6 8 9                                /s/ J o h n C. F air w e at h er ( wit h p er missi o n)
  E m ail: a ar o n. mi n er @ ar n ol d p ort er. c o m                J o h n C. F air w e at h er ( 0 0 1 8 2 1 6)
  E m ail: v er o ni c a. c all a h a n @ ar n ol d p ort er. c o m     Lis a S. D el Gr oss o ( 0 0 6 4 9 3 8)
  E m ail: Yi qi n g. S hi @ ar n ol d p ort er. c o m                  B R O U S E Mc D O W E L L
                                                                        3 8 8 S o ut h M ai n Str e et, S uit e 5 0 0
  A n dr e w C. J o h ns o n ( a d mitt e d pr o h a c vi c e )         A kr o n, O H 4 4 3 1 1
  AR N OL D & P ORTER K A YE SC H OLER                                  T el e p h o n e: ( 3 3 0) 5 3 5 -5 7 1 1
  LLP                                                                   F a csi mil e: ( 3 3 0) 2 5 3 -8 6 0 1
  6 0 1 M ass a c h us etts A v e., N W                                 E m ail: jf air w e at h er @ br o us e. c o m
  W as hi n gt o n, D C 2 0 0 0 1 -3 7 4 3                              E m ail: l d el gr oss o @ br o us e. c o m
  T el e p h o n e: ( 2 0 2) 9 4 2 -5 6 3 1
  E m ail: A n dr e w.J o h ns o n @ ar n ol d p ort er. c o m          St e p h e n S. S c h ol es ( a d mitt e d pr o h a c vi c e )
                                                                        P a ul M. G. H el ms ( a d mitt e d pr o h a c vi c e )
  Att or n e ys f or D ef e n d a nt L eil a L. V es p oli              S a m a nt h a L. F e nt o n ( a d mitt e d pr o h a c vi c e )
                                                                        M C D E R M O T T WI L L & E M E R Y L L P
  /s/ Vi ct or A. W alt o n, Jr. ( wit h p er missi o n)                4 4 4 W est L a k e Str e et
  Vi ct or A. W alt o n, Jr. ( 0 0 5 5 2 4 1)                           C hi c a g o, I L 6 0 6 0 6 -0 0 2 9
  J os e p h M. Br u n n er ( 0 0 8 5 4 8 5)                            T el e p h o n e: ( 3 1 2) 3 7 2 -2 0 0 0
  V O R Y S, S A T E R, S E Y M O U R & P E A S E                       F a csi mil e: ( 3 1 2) 9 8 4 -7 7 0 0
  LLP                                                                   E m ail: ss c h ol es @ m w e. c o m
  3 0 1 E ast F o urt h Str e et, S uit e 3 5 0 0                       E m ail: p h el ms @ m w e. c o m
  Gr e at A m eri c a n T o w er                                        E m ail: sf e nt o n @ m w e. c o m
  Ci n ci n n ati, O H 4 5 2 0 2
  T el e p h o n e: ( 5 1 3) 7 2 3 -4 0 0 0                             Att or n e ys f or D ef e n d a nt R o b ert P. R eff n er
  F a csi mil e: ( 5 1 3) 7 2 3 -4 0 5 6
  E m ail: v a w alt o n @ v or ys. c or n
  E m ail: j m br u n n er @ v or ys. c o m
                                                                        /s/ R o b ert W. Tr aff or d ( wit h p er missi o n)
  A n dr e w P. G ur a n ( 0 0 9 0 6 4 9)                               R o b ert W. Tr aff or d, Tri al Att or n e y ( 0 0 4 0 2 7 0)
  V O R Y S, S A T E R, S E Y M O U R & P E A S E                       D a vi d S. Bl o o mfi el d, Jr. ( 0 0 6 8 1 5 8)
  LLP



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  1 0 6 S o ut h M ai n Str e et, S uit e 1 1 0 0          P O R T E R, W RI G H T, M O R RI S & A R T H U R
  A kr o n, O H 4 4 3 0 8 -1 4 7 1                         LLP
  T el e p h o n e: ( 3 3 0) 2 0 8 -1 0 0 0                4 1 S o ut h Hi g h Str e et, S uit e 2 9 0 0
  F a csi mil e: ( 3 3 0) 2 0 8 -1 0 0 1                   C ol u m b us, O H 4 3 2 1 5 -6 1 9 4
  E m ail: a p g ur a n @ v or ys. c o m                   T el e p h o n e: ( 6 1 4) 2 2 7 -2 0 0 0
                                                           F a csi mil e: ( 6 1 4) 2 2 7 -2 1 0 0
  Att or n e ys f or D ef e n d a nt J o h n J u d g e     E m ail: rtr aff or d @ p ort er wri g ht. c o m
                                                           E m ail: d bl o o mfi el d @ p ort er wri g ht. c o m

                                                           Bri a n S. W ei nst ei n ( a d mitt e d pr o h a c vi c e )
                                                           Eri c M. Ki m ( a d mitt e d pr o h a c vi c e )
                                                           J os h u a N. S hi n br ot ( a d mitt e d pr o h a c vi c e )
                                                           D A VI S P O L K & W A R D W E L L L L P
                                                           4 5 0 L e xi n gt o n A v e n u e
                                                           N e w Y or k, N Y 1 0 0 1 7
                                                           T el e p h o n e: ( 2 0 2) 4 5 0-4 0 0 0
                                                           E m ail: bri a n. w ei nst ei n @ d a vis p ol k. c o m
                                                           E m ail: eri c. ki m @ d a vis p ol k. c o m
                                                           E m ail: j os h u a.s hi n br ot @ d a vis p ol k. c o m

                                                           Att or n e ys f or t h e U n d er writ er D ef e n d a nts
                                                           B ar cl a ys C a pit al I n c., B of A S e c uriti es, I n c.,
                                                           Citi gr o u p Gl o b al M ar k ets I n c., J. P. M or g a n
                                                           S e c ur iti es L L C, M or g a n St a nl e y & C o. L L C,
                                                           Miz u h o S e c uriti es U S A L L C, P N C C a pit al
                                                           M ar k ets L L C, R B C C a pit al M ar k ets, L L C,
                                                           S a nt a n d er I n v est m e nt S e c uriti es I n c., S c oti a
                                                           C a pit al ( U S A ) I n c., S M B C Ni k k o S e c uriti es
                                                           A m eri c a, I n c., CI B C W orl d M ar k ets C or p.,
                                                           K e y B a n c C a pit al M ar k ets I n c., T D S e c uriti es
                                                           ( U S A) L L C, U. S. B a n c or p I n v est m e nts, I n c.,
                                                           a n d M U F G S e c uriti es A m eri c as I n c.




                                                         -1 5 -
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                                                C E R TI FI C A T E O F S E R VI C E

            I h er e b y c ertif y t h at o n A u g ust 2 8, 2 0 2 3, I el e ctr o ni c all y fil e d t h e f or e g oi n g wit h t h e

  Cl er k of C o urt usi n g t h e C M/ E C F s yst e m, w hi c h will n otif y all c o u ns el of r e c or d.


                                                                        /s/ Thomas D. Warren
                                                                        T h o m as D. W arr e n ( 0 0 7 7 5 4 1)

                                                                      C o u ns el f or D ef e n d a nt First E n er g y C or p.
